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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA




   SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                      Case No. 1:18-cv-00950-LO-JFA
                  v.

   COX COMMUNICATIONS, INC., et al.,

                         Defendants.


   CONSENT MOTION FOR BRIEFING SCHEDULE IN CONNECTION WITH COX’S
    MOTION FOR RELIEF FROM THE JUDGMENT UNDER RULES 60(B)(2) AND
     60(B)(3) AND REQUEST FOR INDICATIVE RULING UNDER RULE 62.1 AND
  RELATED SEALING MOTIONS AND FOR PARTIES AND NON-PARTIES TO EACH
  FILE A SINGLE MEMORANDUM IN SUPPORT OF RELATED SEALING MOTIONS

         Pursuant to Rule 26 of the Federal Rules of Civil Procedure and Local Civil Rule 5(C),

  Plaintiffs, Defendants, and interested non-parties Audible Magic, MarkMonitor, and the

  Recording Industry Association of America (“RIAA”) jointly request the Court’s permission

  (1) to set a briefing schedule in connection with Cox’s Motion for Relief from the Judgment

  Under Rules 60(b)(2) and 60(b)(3) and Request for Indicative Ruling Under Rule 62.1 (the

  “Second Rule 60 Motion”), and related sealing motions, and (2) to each file a single

  memorandum in support of requests to seal submitted in connection with briefing on Rule 60

  Motions.

         This Consent Motion is based on the following grounds:

         1.     On December 27, 2021, Defendants Cox Communications, Inc. and CoxCom,

  LLC (together, “Cox”) filed a Motion for Relief from the Judgment Under Rule 60(b)(3) and

  Request for Indicative Ruling Under Rule 62.1 (the “First Rule 60 Motion”). ECF No. 737.



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          2.      On January 5, 2022, the Court entered an Order setting a briefing schedule,

  including for memoranda relating to sealing motions (ECF No. 746), as follows:

                      a. Plaintiffs’ opposition to the First Rule 60 Motion due by February 9, 2022;

                      b. Cox reply on the First Rule 60 Motion due by March 2, 2022;

                      c. Parties’ memoranda in support of sealing any other party’s sealing motion
                         in connection with the First Rule 60 Motion due by March 9, 2022; and

                      d. Non-parties Audible Magic, MarkMonitor, and the Recording Industry
                         Association of America (“RIAA”) memoranda in support of any party’s
                         sealing motions in connection with the First Rule 60 Motion due by March
                         16, 2022.

          3.      On January 11, 2022, Cox filed its Second Rule 60 Motion. ECF No. 748.

          4.      In connection with its Second Rule 60 Motion, Cox filed a Motion to Seal. ECF

  No. 753. The Second Rule 60 Motion referenced and attached as exhibits documents and

  information designated by the parties and/or various non-parties as Highly Confidential –

  Attorneys’ Eyes Only or Confidential under the Stipulated Protective Order (ECF No. 58).

          5.      Plaintiffs intend to file an opposition to Cox’s Second Rule 60 Motion, and Cox

  intends to file a reply in support of its Second Rule 60 Motion, which they expect will or may

  attach additional confidential information of the same parties and non-parties. Plaintiffs and Cox

  expect to file motions to seal in connection with those briefs, as applicable.

          6.      The parties have agreed to and jointly propose a briefing schedule that provides

  additional time for Plaintiffs to file their opposition and for Cox to file its reply:

                      a. Plaintiffs would file their opposition on February 16, 2022; and

                      b. Cox would file its reply on March 9, 2022.

          7.      In the interest of efficiency, judicial economy, and avoiding inconsistent rulings,

  the parties and non-parties jointly request the Court’s permission to each file one single

  memorandum in support of the numerous requests to seal in connection with both the First Rule


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  60 Motion and Second Rule 60 Motion, Plaintiffs’ opposition thereto, and/or Cox’s reply in

  support (collectively, the “Rule 60 Briefing”). They further request that the information subject

  to the sealing motions in connection with the Rule 60 Briefing be maintained under seal pending

  resolution of the respective seal motions.

         8.      The procedural prerequisites for sealing will still be met. The parties will provide

  a supporting memorandum as required by Local Civil Rule 5(C), but in a consolidated form that

  avoids duplicative filings.

         9.      Granting this motion will not cause any prejudice to the parties or non-parties, nor

  impact the public’s access to judicial records. Each interested party and non-party will still have

  ample notice and an opportunity to reasonably object.

         10.     Plaintiffs, Defendants, Audible Magic, MarkMonitor, and RIAA all consent to the

  relief requested herein.

         11.     Based on the foregoing, the parties propose the following schedule for the

  remaining Rule 60 Briefing and related motions to seal:

                      Date                                       Deadlines

           February 16, 2022             Plaintiffs’ Opposition to Cox’s Rule 60(b)(2) and
                                         60(b)(3) Motion (ECF No. 748). Plaintiffs to file a
                                         Motion to Seal and Notice of Sealed Filings, if
                                         applicable.

           March 9, 2022                 Cox’s Reply in support of its Rule 60(b)(2) and 60(b)(3)
                                         Motion (ECF No. 748). Cox to file a Motion to Seal and
                                         Notice of Sealed Filings, if applicable.

           March 16, 2022                Plaintiffs and Cox to each file a single memorandum in
                                         support of the other parties’ Motions to Seal filed in
                                         connection with the Rule 60 Briefing.

           March 23, 2022                Audible Magic, MarkMonitor, and RIAA to each file a
                                         single memorandum in support of the parties’ Motions to




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                                     Seal filed in connection with the Second Rule 60
                                     Briefing.


  Dated January 18, 2022                             /s/ Scott A. Zebrak
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